              Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 1 of 46




 1
                                     UNITED STATES DISTRICT COURT
 2
                                  NORTHERN DISTRICT OF CALIFORNIA
 3
                                             SAN JOSE DIVISION
 4

 5   UNITED STATES OF AMERICA,                       ) Case No. CR-18-00258-EJD
                                                     )
 6           Plaintiff,                              )
                                                     )
 7      v.                                           )
                                                     )
 8   ELIZABETH HOLMES,                               )
                                                     )
 9           Defendant.                              )
                                                     )
10                                                   )
                                                     )
11

12
                                    PROPOSED JURY QUESTIONNAIRE
13
                 Defendant Elizabeth Holmes respectfully submits the attached jury questionnaire.
14
     Dated: May 27, 2021                                Respectfully submitted,
15
                                                        /s/ Kevin M. Downey
16                                                      Kevin M. Downey
17                                                      WILLIAMS & CONNOLLY LLP
                                                        725 Twelfth Street, NW
18                                                      Washington, DC 20005
                                                        Tel: (202) 434-5000
19                                                      kdowney@wc.com
20                                                      Attorney for Elizabeth Holmes
21

22

23

24

25

26

27

28

                                                        1
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 2 of 46
                                                             JUROR # ______________



Name: __________________________________



                                      JUROR QUESTIONNAIRE

TO THE PROSPECTIVE JUROR:

       You have been selected to potentially serve as a juror in the U.S. District Court, which sits in San

Jose, California. In each case, the judge and the lawyers involved in the case must decide if you should

serve in that particular case. These decisions are made before the trial begins. Because many of the

questions asked by the Court and the lawyers are the same in most cases, this questionnaire has been

prepared so that the information provided can be given to counsel and the Court prior to individual

questioning. This will speed the process of jury selection and minimize the amount of time you must

spend in the courtroom while a jury is selected.

       It is important that you understand that the Court is sensitive to your privacy. Your answers are

confidential. They will be reviewed by the Judge and the lawyers in this case. After a jury has been

selected, all copies of your responses to this questionnaire will be returned to the Clerk of the Court and

kept under seal. They will be disclosed, if at all, with names and other identifying information removed.

Finally, using this questionnaire will save time because prospective jurors will not have to sit and wait

before they answer these or similar questions in person.

                                    IMPORTANT – READ CAREFULLY

       Now that you are a prospective juror, you MUST follow the instructions listed below until you

have been excused from further service in this case.

               DO NOT read anything whatsoever about this case, the participants in the case, or any of
               the issues in the case. Please avoid any media accounts that may relate to this case.

               DO NOT read or listen to any media accounts whether in a newspaper, on the internet,
               on television, on the radio, or on any electronic or social media of any kind concerning
               this case.

               DO NOT conduct any research, including on the Internet, about this case, the participants
               in the case, or any of the issues in the case.

               DO NOT at any time discuss this case (including this questionnaire) with anyone,
               including your friends, family members, or other prospective members of this jury panel.


                                                       2
           Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 3 of 46
                                                                JUROR # ______________



               DO NOT discuss or post anything about this case on any electronic or social media,
               including Facebook, YouTube, Twitter, Reddit, Instagram, LinkedIn, Snapchat, TikTok,
               e-mail, text message, any blog, website, or chat forum, or any other media of any kind.

               DO NOT let anyone, including friends, family members, court personnel, parties in this
               case, or persons involved in the case, talk to you about your views or any aspect of this
               case except officially in the courtroom.


       This is a criminal case. The case involves Theranos, a blood testing company, and its founder

and CEO, Ms. Elizabeth Holmes. The indictment alleges that Ms. Holmes knowingly and intentionally

made misstatements to investors and paying customers in order to defraud them. The indictment also

alleges that Ms. Holmes knowingly and intentionally conspired with one or more other people to do so.

       You should understand clearly that the indictment language that I just summarized is not

evidence. The indictment is just a formal way of charging a person with a crime in order to bring her to

trial. You must not think of the indictment as any evidence of guilt, or draw any conclusion as to guilt

of the defendant just because she has been indicted.

       Ms. Holmes denies the charges and has pleaded not guilty. She is presumed to be innocent.

       The only purpose of this questionnaire is to determine whether, if selected as a juror, you could

fairly and impartially decide this case based solely on the evidence presented at trial and the instructions
about the applicable law that will be given by the Court. The Court and the lawyers know that every

person has beliefs and prejudices concerning many things. You should answer with your true feelings,

whatever they may be. Do not assume that any of your answers will qualify you or disqualify you from

serving on this jury.

       Please do not discuss with anyone any question or answer you give on this questionnaire. When

you have completed the questionnaire, you will sign an oath, affirming the truth of your answers

and confirming that you had no assistance in completing it. This oath is made under penalty of

perjury.

       The following additional instructions should assist you to complete the questionnaire:

           Please answer each question below candidly and as completely as you reasonably can.

           Certain questions will ask about family members and close friends’ experiences. Please
            answer all questions to the best of your personal knowledge and recollection.

                                                       3
           Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 4 of 46
                                                                JUROR # ______________



           Please keep in mind that are no “right” or “wrong” answers, only complete and truthful
            answers or incomplete and untruthful answers.

           You must fill out the entire questionnaire.

           Please write your juror number in the upper right corner of each page of the questionnaire.

           Where indicated, please check the space for “Yes” or “No” and, as requested, furnish
            answers, explanations, and/or details in the spaces provided.

           Do not leave any questions unanswered. If you cannot answer a question because you do not
            understand the question, please write “Do not understand.”

           If you cannot answer a question because you do not know the answer, write “Do not know”
            in the space after the question.

           If a question does not apply to you in any way, write “N/A” rather than leaving the form
            blank.

           If you need extra space to answer any question, please use the margin next to the question or
            the extra blank sheet of paper included at the end of the questionnaire. If you use the extra

            sheet of paper at the end of the questionnaire, be sure to indicate on the blank page the

            number of the question you are answering.

           Please write or print legibly using a black or blue pen. If your answers are illegible, you may
            be required to re-copy your answers.

           Do not write anything on the back of any page.
       When the individual jury selection process begins in court, you may be asked some follow-up

questions based on one or more of your answers to the questionnaire. Please understand this follow-up

will be conducted with only the Court and counsel. Other prospective jurors will not be present.

       When you have completed the questionnaire, please sign it, affirming the truth of your answers

and confirming that you had no assistance in completing it. If you have any contact with anyone,

including another prospective juror, relating to this case, please inform the Court immediately. Thank

you for your cooperation with these instructions and for your careful and honest responses to the

questionnaire. Your forthright and full cooperation is of vital importance to ensuring a fair and impartial

trial in this case, as guaranteed by the Constitution.

                                                         4
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 5 of 46
                                                            JUROR # ______________




Dated: __________


                                         Hon. Edward J. Davila
                                         United States District Judge




                                        5
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 6 of 46
                                                             JUROR # ______________



                                   I.      PRELIMINARY MATTERS

1. The trial in this case may last approximately thirteen (13) weeks, or even longer. The jury will

   generally sit three (3) days per week (Tuesdays, Wednesdays, and Fridays), from 9:00am to 3:00pm,

   during that time. Jury service is one of the highest duties and privileges of a citizen of the United

   States. Mere inconvenience or the usual financial hardship of jury service will be insufficient to

   excuse a prospective juror. Do you wish to apply to the Court to be excused on the ground that jury

   service would be a serious hardship?

   ____ Yes           ____ No

   If yes, please explain the hardship: ____________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



2. Do you have any physical, medical, psychological, or emotional problems, issues, or conditions that

   would affect your ability to serve as a juror, including difficulty hearing, seeing, reading, or

   concentrating?

   ____ Yes           ____ No

   If yes, please explain: ______________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



   If you believe that you could serve as a juror if such condition were accommodated in some way,

   please state the accommodation: ______________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



3. If you take any medications that you think might affect your ability to serve as a juror, please

   describe them and their effects.

   Medication                                 Side Effects

                                                     6
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 7 of 46
                                                             JUROR # ______________



   Example: Xanax                            Makes Me Sleepy

   _______________                           _______________

   _______________                           _______________



4. Have you received a vaccine for COVID-19?

   ____ Yes           ____ No

   If yes, when did you receive the vaccine? _______________________________________________



5. Have you been diagnosed with COVID-19 in the past?

   ____ Yes           ____ No

   If yes, when did you have COVID-19? ________________________________________________



6. In light of the COVID-19 pandemic, do you have concerns about your ability to concentrate at trial,

   consider all the evidence, and make a conscientious decision in deliberations?

   ____ Yes           ____ No

   If yes, would courtroom precautions (ex. the use of air filters, use of a larger courtroom) alleviate

   your concerns?

   _______________________________________________________________________________

   _______________________________________________________________________________



7. Is there any reason relating to the COVID-19 pandemic that would make jury service an undue

   hardship for you or anyone in your household?

   ____ Yes           ____ No

   If yes, please explain: _______________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



8. Is there anything else going on in your life or work that would prevent you from giving this case

                                                    7
         Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 8 of 46
                                                              JUROR # ______________



    your full attention for the duration of trial?

    ________________________________________________________________________________

    _________________________________________________________________________________



9. Will your employer continue to pay your salary if you are selected to serve on this jury?

    ____ Yes            ____ No                   ____ Not Sure        ____ I do not have an employer



10. Do you have any difficulty reading or understanding English?

    ____ Yes            ____ No



                                            II.      BACKGROUND

11. Name:_____________________________



12. Title (please circle)

        Dr.             Mr.             Mrs.            Ms.            Miss



13. Age: _________



14. Sex: _______



15. Gender Identity: ______



16. Residence: County: _________                  City/Town: ___________              Zip Code: ________


    Neighborhood: ___________________                   [Do not list your street address]

    a. How long have you lived at that location? __________

    b. How many years have you lived in California? _________

    c. Do you own or rent your home?


                                                        8
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 9 of 46
                                                             JUROR # ______________



       Rent ____              Own ____                Other ____

   d. What other communities have you lived in during the last ten years?

       _____________________________________________________________________________

       _____________________________________________________________________________

       _____________________________________________________________________________

   e. Your place of birth: ____________



17. What is your marital status? (please circle)

   Single      Married        Separated       Divorced

   Widowed Live with a partner/significant other



18. Any prior marriages?      ____ Yes                ____ No               If yes, how many? ____



19. What is your current job status? (please check)

   _____ Employed full-time                           _____ Self-employed

   _____ Employed part-time                           _____ Unemployed/laid-off

   _____ Homemaker                                    _____ Retired

   _____ Disabled

   _____ Full-time student (please state area of study _____________________________________)

   _____ Other (please describe ______________________________________________________)



20. What is your occupation? If you are not currently employed, please describe your most recent prior

   employment. ______________________________________________________________________

   _________________________________________________________________________________



   a. By whom are (were) you employed? ________________________________________________

       ______________________________________________________________________________

   b. How long have you worked (did you work) there? _____________________________________

                                                      9
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 10 of 46
                                                            JUROR # ______________



       ______________________________________________________________________________

   c. What are (were) your specific duties at your job? ______________________________________

       ______________________________________________________________________________

   d. Do (did) you supervise other people?

       ____Yes        ____No

       If yes, how many people do (did) you manage and/or supervise? __________________________

   e. Please briefly describe what your management and/or supervisory responsibilities have entailed

       (e.g., do you conduct performance reviews, are you responsible for hiring and firing decisions,

       etc.): _________________________________________________________________________

       ______________________________________________________________________________

       ______________________________________________________________________________

   f. If you have held any other occupations in the past five years, please identify them here: _______

       ______________________________________________________________________________

       ______________________________________________________________________________



21. What is the highest level of education you have completed?

    ____ Less than high school

    ____ High school graduate

    ____ Some college/vocational training

    ____ College graduate. If so, please indicate degree and/or field of study: ___________________

    ________________________________________________________________________________

    ____ Post-graduate degree. If so, please indicate degree and/or field of study: ________________

    ________________________________________________________________________________



22. Please list all educational institutions you have attended, beginning with high school: ___________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

                                                  10
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 11 of 46
                                                            JUROR # ______________



23. Have you, a family member, or someone close to you received any training, experience, or

    specialized knowledge in any of the following? Please check the box that applies and provide an

    explanation below:
            Sector             Yes, Me          Yes, Family        Yes, Someone             No
                                                 Member             Close to Me
           Business

            Finance

             Law

       Investing; Private
       Equity; Startups;
        Venture Capital

      Accounting; Book-
           keeping
       Public Relations;
         Marketing;
      Advertising; Media;
             Press

       Health Insurance

      Chemistry; Biology;
        Medicine; Life
          Sciences

          Engineering

       Computer Science

        Statistics; Data
           Analytics

       Healthcare; Health
            Services

         Blood Testing

         Laboratories

      Scientific Research

           Contracts

          Psychiatry;
          Psychology


                                                 11
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 12 of 46
                                                            JUROR # ______________



            Sector             Yes, Me          Yes, Family        Yes, Someone            No
                                                 Member             Close to Me
        Pharmacology;
          Pharmacy;
        Pharmaceuticals

        Quality control,
        compliance, or
        enforcement of
         standards and
          regulations
       State, County, or
      Federal Government
             (Any)

       U.S. Food & Drug
        Administration

      U.S. Dep’t of Health
      & Human Services
            (HHS)

      Centers for Medicare
      & Medicaid Services
            (CMS)

     Clinical Laboratory
        Improvement
     Amendments (CLIA)

      California Dep’t of
        Public Health

           Any other
         regulatory/law
      enforcement agency



    If you indicated yes with a check mark to any of the above, please provide detail: ______________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

Please complete the following questions regarding your present spouse or partner/significant other.

                                                 12
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 13 of 46
                                                            JUROR # ______________



If you are divorced, widowed, or separated, please answer the following questions regarding your

former spouse, partner or significant other’s employment:



24. What is your spouse’s current employment status?

   ____ Employed full-time                          ____ Self-employed

   ____ Employed part-time                          ____ Unemployed/laid-off

   ____ Homemaker                                   ____ Retired

   ____ Disabled

   ____ Full-time student (please state area of study ____________________________________)

   ____ Other (please describe _____________________________________________________)



25. What is his or her occupation (or what was it, if he or she is no longer employed)? ______________

   _________________________________________________________________________________



   a. By whom is (was) he or she employed? _____________________________________________

       ______________________________________________________________________________

   b. How long has (did) he or she worked there? __________________________________________

       ______________________________________________________________________________

   c. What are (were) his or her specific duties at the job? ___________________________________

       ______________________________________________________________________________

   d. Does he or she supervise other people?

       ____Yes                 ____No

       If yes, how many people does (did) your spouse manage and/or supervise? _________________

       ______________________________________________________________________________

       Please briefly describe what these management and/or supervisory responsibilities entail or

       entailed (e.g., does your spouse conduct performance reviews, is he or she responsible for hiring

       and firing decisions, etc.):

       ______________________________________________________________________________

                                                   13
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 14 of 46
                                                             JUROR # ______________



       ______________________________________________________________________________

   e. How long has your spouse held his or her present position/title?

       ______________________________________________________________________________

   f. Please briefly describe what significant training he or she has received for the position, if any:

       ______________________________________________________________________________

   g. What other types of jobs has he or she had in the past? _________________________________

       ______________________________________________________________________________

       ______________________________________________________________________________



26. What is the highest level of education your spouse has completed?

    ____ Less than high school

    ____ High school graduate

    ____ Some college/vocational training

    ____ College graduate. If so, please indicate degree and/or field of study: ___________________

    ________________________________________________________________________________

    ____ Post-graduate degree. If so, please indicate degree and/or field of study: ________________

    ________________________________________________________________________________



27. Please list all educational institutions your spouse has attended, beginning with high school:

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



28. Do you have any children, including step-children?

    ____Yes            ____No

    If yes, please fill out the chart below:

    Relationship               Age     Sex                   Occupation or Year in School__________

    ________________________________________________________________________________

                                                    14
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 15 of 46
                                                             JUROR # ______________



    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



29. With whom do you live, what is your relationship with them, and what are their occupations, if

   applicable? ______________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



30. Have you, a family member, or someone close to you ever served in the military (including

    Reserves, National Guard or ROTC)?

    ____Yes           ____No

    If yes, please list the branch, years of service, rank attained, type of discharge, and whether you,

    your family member, or person close to you served in a military police unit, court martial, and/or

    were in combat:

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



31. What are your hobbies, major interests, recreational pastimes and spare time activities and sports?

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



32. What are your spouse’s hobbies, major interests, recreational pastimes and spare time activities and

    sports?

    ________________________________________________________________________________

                                                    15
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 16 of 46
                                                            JUROR # ______________



    ________________________________________________________________________________

    ________________________________________________________________________________



33. Please list any groups and/or organizations to which you belong (for example, church groups,

    professional organizations, volunteer activities, victim’s rights groups, etc.):

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



34. Please list any groups and/or organizations to which your spouse belongs:

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



35. If you have ever been a published or unpublished author, please describe the things you have

    written and when you wrote them: ____________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



36. When in a group trying to make a decision, do you usually:

    ___ Strongly express your views to get the outcome you believe is best

    ___ Participate in the discussion and try to help build a consensus

    ___ Listen and follow what you think the majority favors

    ___ Other (please describe) _________________________________________________________




                                                    16
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 17 of 46
                                                             JUROR # ______________



                                      III.   LIFE EXPERIENCE

37. Have you, a family member, or someone close to you (as far as you are aware) had any of the

   following experiences? Please check the box that applies and then provide an explanation below.
         Experience            Yes, Me          Yes, Family         Yes, Someone            No
                                                 Member              Close to Me
     Directly invested in a
     company, other than
      stock purchases on
       public exchanges

     Sought out/solicited
      investments in a
         company

     Worked in any field
     that involves blood
    tests, doctor’s tests or
      other medical care

       Had any work
      experience with
      pharmacies (ex.
      Walgreens; CVS;
       Safeway; etc.)

        Had any work
       experience in the
        venture capital
           industry

     Prepared financial
    models or projections
       for a business

    Had a bad experience
     with an investment

      Been the victim of
            fraud

    Received any form of
     medical treatment,
       vaccine, test or
        diagnosis in a
      pharmacy and/or
        grocery store

      Been involved in a
         dispute about
         misdiagnosis,
     payment for medical
     treatment, or quality
                                                  17
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 18 of 46
                                                            JUROR # ______________



         Experience               Yes, Me           Yes, Family          Yes, Someone              No
                                                     Member               Close to Me
       of treatment,
        including a
     malpractice dispute

     Been a government
         contractor



38. If you answered yes to any of the questions above, please provide detail: ______________________

   _________________________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



39. Have you, a family member or someone close to you ever worked in law enforcement or the security

   field (including federal, state, local, military, auxiliary, volunteer, state or local police departments,

   the Federal Bureau of Investigation, U.S. Postal Inspection Service, Department of Health and

   Human Services Office of Inspector General, Food and Drug Administration Office of Criminal

   Investigations, the Securities and Exchange Commission, any prosecutor’s office, the Department of

   Corrections, etc.)?

    ____Yes              ____No

   If yes, please identify who, when, and describe the position(s):

   _________________________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



40. Do you know anyone who works for any sort of prosecutorial agency (for example, the U.S.

    Attorney’s Office, San Jose District Attorney’s Office, California Attorney General’s Office, etc.)?

    ____Yes              ____No


                                                     18
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 19 of 46
                                                            JUROR # ______________



    If yes, please explain:

    ________________________________________________________________________________

    ________________________________________________________________________________

   ________________________________________________________________________________



41. Do you have investments?

   ___ Yes            ____ No

   If yes, check the forms of investment that you use or have used:

    Savings Accounts                 Stocks               Mutual Funds

    Growth Funds                     Value Funds          Bonds

    Exchange Traded Funds            Certificates of Deposit

    Annuities                        Options              Cryptocurrency



42. Do you have health insurance?

    ___ Yes           ___ No

    If yes, where do you get it?

     Employer                  Medicare           Medicaid              Public Exchange

     Other (Please explain ___________________________________________________________)



43. Do you have any general opinion about the venture capital industry?

    ____Yes           ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



44. Do you have any general opinion about startup businesses?

    ____Yes           ____No

    If yes, please explain: ______________________________________________________________

                                                  19
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 20 of 46
                                                            JUROR # ______________



    ________________________________________________________________________________

    ________________________________________________________________________________



45. Do you have any strong views regarding entrepreneurs?

    ____Yes          ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



46. Do you have any strong views regarding corporate executives?

    ____Yes          ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



47. Have you, a family member, or someone close to you ever been a victim of or witness to a crime?

    ____Yes          ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



48. Have you, a family member, or someone close to you ever been falsely accused of a crime?

    ____ Yes         ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________




                                                 20
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 21 of 46
                                                            JUROR # ______________



                                 IV.    MEDIA HABITS AND EXPOSURE

49. How much do you rely on the following sources for your news?

                                A lot       Somewhat             Not much              Not at all

    Newspapers:                                                                          

    Social Media:                                                                        

    Television:                                                                          

    Radio:                                                                               

    Internet:                                                                            

    Conversations:                                                                       

    Other ___________:                                                                   



50. How often do you check, follow, or read about news or current events?

    ____ Multiple times per day                          ____ Once per day

    ____ Several times per week                          ____ Once or twice per week

    ____ Less than once per week                         ____ Almost never



51. Do you have an account on any social media platforms?

    ____ Yes           ___ No

   a. If yes, please identify the platform(s): _______________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

   b. Do you use any other social media platforms?

       ___ Yes ___ No

       If yes, please list them and explain how frequently you use them: _________________________

       ______________________________________________________________________________

   c. How frequently do you use the platform(s) listed above in 51(a) and 51(b)?

       Multiple times per day:              

       Once per day:                        

                                                 21
    Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 22 of 46
                                                         JUROR # ______________



   Several times per week:               

   Once or twice per week:               

   Less than once per week:              

   Almost never:                         

   N/A:                                  

   If you use some platforms more frequently than others, please explain:

   ______________________________________________________________________________

   ______________________________________________________________________________

d. How do you use social media? (for example, communicate with friends; express opinions; follow

   current events; etc.) _____________________________________________________________

   ______________________________________________________________________________

   ______________________________________________________________________________

e. Do you belong to any groups on social media (ex. Facebook or WhatsApp groups)?

   ____ Yes        ____ No

   If yes, please list the groups: ______________________________________________________

   _____________________________________________________________________________

   _____________________________________________________________________________

f. Have you ever posted messages, comments, or opinions on websites/social media, or blogged?

   ____ Yes ____ No

   If yes, please describe the websites or social media platforms that you have used; the types of

   things you have posted or blogged; and how often you have done it: _______________________

   ______________________________________________________________________________

   ______________________________________________________________________________

   ______________________________________________________________________________

   ____________________________________________________________________________

g. Have you read, listened to, commented on, “liked,” or posted anything on social media about

   Elizabeth Holmes, Ramesh “Sunny” Balwani, or Theranos?

   ____ Yes        ____ No

                                               22
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 23 of 46
                                                             JUROR # ______________



       If yes, please explain: ____________________________________________________________

       ______________________________________________________________________________

       ______________________________________________________________________________



52. Do you read, listen to, follow, or subscribe to any of the following individuals on blogs, podcasts,

    social media, or in any other way? If yes, please circle the applicable individuals.

    John Carreyrou            Roger Parloff                   Adam Klasfeld                Ethan Barron

    Chuck Barney              Yasmin Khorram                  Sara Randazzo                Tom Hals

    Matthew Renda             Ken Auletta                     Kara Swisher

    Matthew Herper            Rebecca Jarvis                  Joel Rosenblatt              Eric Topol



53. Do you read, follow, or subscribe to any of the following outlets, whether online, in print, or on

    social media or podcasts? Please check the box that applies.
           Outlet             Yes,          Yes,           Yes, Once  Yes, Less     Almost        Never
                            Multiple      Once/Day            or        than        Never
                           Times/Day                      Twice/Week Once/Week
     San Jose Mercury
     News

     The Wall Street
     Journal

     The New York
     Times

     The Washington
     Post

     The Los Angeles
     Times

     The Financial
     Times

     CNBC

     Bloomberg

     Politico

     The Huffington
     Post
                                                     23
  Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 24 of 46
                                                       JUROR # ______________



        Outlet        Yes,       Yes,           Yes, Once  Yes, Less   Almost   Never
                    Multiple   Once/Day            or        than      Never
                   Times/Day                   Twice/Week Once/Week
Business Insider

New York Post

The Daily Mail

USA Today

Engadget

TechCrunch

Dark Daily

Fierce Biotech

Wired

Industry Week

Silicon Valley
Business Journal

The Daily Beast

Vanity Fair

The New Yorker
East Bay Times

San Francisco
Chronicle

San Francisco
Business Times

SF Gate

The Arizona
Republic

Law.com/The
Recorder

Law360

NYMag/The Cut

Mashable

People
                                          24
    Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 25 of 46
                                                         JUROR # ______________



          Outlet           Yes,          Yes,           Yes, Once  Yes, Less       Almost        Never
                         Multiple      Once/Day            or        than          Never
                        Times/Day                      Twice/Week Once/Week
  Variety

  Hollywood
  Reporter

  Deadline

  SFist

  Forbes

  Fortune

  UPROXX

  Gizmodo

  Slate

  Breitbart

  Vox

  Beckers Hospital
  Review



a. Please list any outlets not listed above that you read, view, listen to, follow, or subscribe to, and

   how frequently you do so. ________________________________________________________

   ______________________________________________________________________________



b. Have you ever read, viewed, or heard about anything relating to Theranos, Elizabeth Holmes,

   and/or Ramesh “Sunny” Balwani published in the outlets listed above?

   ___ Yes           ___ No

   If yes, state what you recall about what you viewed, read or heard?

   ______________________________________________________________________________

   ______________________________________________________________________________

   ______________________________________________________________________________

   ______________________________________________________________________________

                                                  25
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 26 of 46
                                                            JUROR # ______________



54. Do you watch or listen to any of the following networks, podcasts, or shows on television or

    online? Please circle.
        Network,       Yes, Multiple     Yes,           Yes, Once  Yes, Less        Almost     Never
      Podcast, Show     Times/Day      Once/Day            or        than           Never
                                                       Twice/Week Once/Week
     ABC 7 News

     KPIX-TV (CBS
     SF Bay Area)
     KTVU FOX2

     NBC Bay Area

     ABC

     CBS

     NBC

     The Today
     Show (NBC)

     60 Minutes
     (CBS)

     KQED

     NPR

     CNBC

     CNN

     Fox News

     Fox Business

     Hulu

     Netflix

     HBO

     Three Uncanny
     Four



   a. Do you watch or listen to other television shows, radio shows, or podcasts?

       ____ Yes       ____ No


                                                  26
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 27 of 46
                                                             JUROR # ______________



       If yes, please list them and explain how frequently you watch or listen to them: ______________

       ______________________________________________________________________________



   b. Have you ever read, viewed, listened to, or heard about anything relating to Theranos, Elizabeth

       Holmes, and/or Ramesh “Sunny” Balwani in one of the outlets listed above?

       ____ Yes        ____ No

       If yes, what have you heard? ______________________________________________________

       ______________________________________________________________________________

       ______________________________________________________________________________



55. Do you regularly watch any television shows involving criminal investigations, crime solving, or

    criminal trials?

    ___ Yes            ___ No

    ________________________________________________________________________________

    ________________________________________________________________________________



56. Have you ever written a letter to the editor or called into a radio show?

    ____ Yes           ____ No

    Please explain:____________________________________________________________________

    ________________________________________________________________________________



57. Have you read, watched, listened to, or been told of any of the following? Please circle:



    Bad Blood by John Carreyrou                              HBO’s The Inventor

    ABC News’ The Dropout Podcast                            ABC News’ The Dropout Documentary

    ABC News 20/20 on Theranos                               Thicker Than Water by Tyler Shultz

    TED Talk: Theranos, Whistleblowing and Speaking Truth to Power by Erica Cheung



                                                    27
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 28 of 46
                                                             JUROR # ______________



    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



58. How much in the news media do you believe is fair and accurate?

         All of it

         Most of it

         Some of it

         None of it

    Please explain. ___________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



                                  V.      NATURE OF THE CHARGES

59. This case will present issues relating to blood testing and the medical field. Do you have any strong

   views on these issues that might affect your ability to be a fair and impartial juror in this case?

   ____ Yes            ____ No

   If yes, please explain. _______________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



60. This case will involve investments, entrepreneurship, and start-up businesses. Do you have any

   strong views on the issue that might affect your ability to be a fair and impartial juror in this case?

   ____ Yes            ____ No

   If yes, please explain. _______________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________

                                                    28
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 29 of 46
                                                             JUROR # ______________



61. This case will present issues relating to innovation in the clinical laboratory testing industry. Do you

   have any strong views on the issue that might affect your ability to be a fair and impartial juror in

   this case?

   ____ Yes            ____ No

   If yes, please explain. _______________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



62. Do you think that companies that oppose a government regulation and seek to overturn it are more

   likely to commit fraud?

   ____ Yes            ____ No        ____ Not Sure

   Please explain. ____________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



63. Do you believe that an entrepreneur is more likely to commit fraud than the average person?

   ____ Yes            ___ No                 ____ Not Sure

   Please explain. ____________________________________________________________________

   _________________________________________________________________________________



64. Do you believe that entrepreneurs should be punished if investors lose money on their business?

   ____ Yes            ____ No                ____ Not Sure

   Please explain: ____________________________________________________________________

   _________________________________________________________________________________



65. During the course of jury deliberations, if a fellow juror should suggest that you disregard the law or

   the evidence, and decide the case on other grounds, would you, as a juror, be able to reject the

   suggestion and abide by your oath to this Court to decide the case solely on the evidence and law as

                                                    29
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 30 of 46
                                                            JUROR # ______________



   the Court has instructed you to do, without regard to sympathy, bias, or prejudice?

   ____ Yes           ____ No         ____ Not sure

   If No or Not Sure, please explain: _____________________________________________________

   _________________________________________________________________________________



                                VI.    FAMILIARITY WITH THE CASE

66. Do you know or have you heard about the defendant, Ms. Elizabeth Holmes?

    ____ Yes          ____ No

    If yes, please explain how you know Ms. Holmes, or what you have heard about her, and the source

    of anything you know or have heard about her: __________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



67. Ms. Holmes was the founder and CEO of Theranos, a blood testing company. Do you know or have

   you heard about Theranos?

   ____ Yes           ____ No

   If yes, please explain what you know or have heard about Theranos, and the source: _____________

   _________________________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



68. Are you aware of any controversies in the blood testing industry?

   ____ Yes           ____ No

   If yes, please explain what you know or have heard: ______________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________



                                                   30
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 31 of 46
                                                            JUROR # ______________



69. The indictment alleges that Ms. Holmes knowingly and intentionally made misstatements to

   investors and paying customers in order to defraud them. The indictment also alleges that Ms.

   Holmes knowingly and intentionally conspired with one or more other people to defraud investors

   and paying customers. As I have explained, the indictment is not evidence, and is just a formal way

   of charging a person with a crime in order to bring her to trial. Ms. Holmes has pleaded not guilty.

   She is presumed innocent. Unless the government proves that she is guilty of these charges beyond

   a reasonable doubt, the jury must return a verdict of not guilty.



   a. Have you read, seen, or heard about this case?

    If yes, please explain what you have read, seen, or heard about this case: _____________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



70. Do you have an opinion about Ms. Holmes?

   ____ Yes           ____ No

   If yes, please explain your opinion:____________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



71. Do you know or have you heard of Mr. Ramesh “Sunny” Balwani, former President and Chief

   Operating Officer at Theranos?

   ____ Yes           ____ No

   If yes, please explain what you know or have heard, and the source: __________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



72. Do you have an opinion about Mr. Balwani?

                                                    31
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 32 of 46
                                                            JUROR # ______________



   ____ Yes          ____ No

   If yes, please explain your opinion: ____________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



73. Have you or anyone you know ever been employed by Theranos?

    ____Yes          ____No

    If yes, what were the positions and approximate dates of employment:________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



74. Have you or anyone you know ever applied to work at Theranos?

    ____ Yes         ____ No

    Please explain: ___________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



75. Have you or anyone you know ever invested in Theranos?

    ____Yes          ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



76. Have you or anyone you know ever received a Theranos blood test result?

    ____ Yes         ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

                                                32
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 33 of 46
                                                            JUROR # ______________




77. The following individuals may be called as witnesses in this case. Please circle the name of anyone

    whom you recognize or know:

                            [Names to be added based on updated witness lists]

    Please explain how you recognize or know the individual(s) whom you have circled:

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



78. Are you familiar with any of the following investment groups?

    Hall Group                      Black Diamond Ventures               Partner Fund Management

    Dynasty Financial               Mosley Family Holdings               PEER Ventures

    BDT Group                       Dignity Health                       Lucus Venture Group

    RDV Corporation                 Draper Fisher Jurveston              Madrone Capital Partners

    Cox Enterprises                 Craig Hall                           Bryan Tolbert

    BDT Capital Partners            Alan Eisenman

    _____Yes _____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

79. The following governmental agencies and private companies may be referred to in this trial. Have

   you ever had any connection with any of the following? If yes, check the box:

   California Public Health Department                                                   

                                                  33
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 34 of 46
                                                             JUROR # ______________



   Centers for Medicaid & Medicare Studies                                                  

   Food and Drug Administration                                                             

   Sonora Quest Diagnostics                                                                 

   Quest Diagnostics                                                                        

   Lab Corp                                                                                 

   The Wall Street Journal                                                                  

   Federal Bureau of Investigation                                                          

   U.S. Postal Inspection Service                                                           

   The Securities and Exchange Commission                                                   

   U.S. Attorney’s Office                                                                   

   U.S. Department of Justice                                                               

   If you indicated yes, please explain your connection: ______________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________



                              VII.   EXPERIENCE WITH LEGAL SYSTEM

80. Have you ever served as a juror at trial or in a grand jury?

    ____Yes               ____No

   a. If yes, how many times? _________________________________________________________

   b. Did you serve as a juror in state or federal court? ______________________________________

   c. Were you ever the foreperson of the jury?

    ____Yes               ____ No

   d. If applicable, please briefly describe the case(s) in which you served as a juror using the

       following table:
      Criminal or Civil                Type of case (e.g., fraud,       Yes or No - Did the jury reach a
                                       personal injury, etc.)           verdict?




                                                     34
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 35 of 46
                                                             JUROR # ______________




   e. Did you feel that the justice system worked?

       ____ Yes               ____ No

       Please explain: _________________________________________________________________

       ______________________________________________________________________________

   f. What stands out most to you about your experience as a juror? Please explain: ______________

       _____________________________________________________________________________

       _____________________________________________________________________________

   g. Is there anything about that experience that would affect your ability to be a fair and impartial

       juror in this case?

       ____ Yes        ____ No



81. Have you ever testified as a witness at any kind of legal proceeding, including a trial?

    ____Yes            ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



82. Have you ever been interviewed as a potential witness in any kind of legal proceeding?

     ____Yes           ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



83. Have you, a family member, or someone close to you ever been involved in a civil or criminal

    proceeding as a plaintiff (the party suing), defendant (the party being sued), or potential witness?

     ____Yes           ____No

                                                    35
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 36 of 46
                                                             JUROR # ______________



    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



84. Have you ever filed a criminal complaint?

    ____ Yes          ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



85. Have you ever contacted any United States Attorney’s office?

    ____ Yes          ____ No

    If yes, what was the reason? _________________________________________________________

    ________________________________________________________________________________



86. Have you ever reported someone for wrongdoing to your employer or a government agency?

   ___ Yes            ___ No

   If yes, please explain: _______________________________________________________________

    ________________________________________________________________________________



87. Other than for a minor traffic citation, have you ever been arrested for, charged with, or convicted

    of a crime?

    ____ Yes          ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



88. Each defendant is presumed innocent and must be acquitted unless the jury, unanimously and based

                                                   36
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 37 of 46
                                                            JUROR # ______________



    solely on the evidence presented in court, decides that her guilt has been proven beyond a

    reasonable doubt. Do you believe that simply because a person has been charged with a crime, that

    person:

    Is Guilty                                        

    Probably Is Guilty                               

    May be Guilty:                                   

    Don’t Know                                       

    Please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



89. If the United States government accuses a corporative executive of committing fraud, do you think

    he or she is:

    Very probably guilty                             

    Probably guilty                                  

    Equally likely to be guilty or not guilty        

    Probably not guilty                              

    Very probably not guilty                         

    Don’t know                                       

    Please explain: ___________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



90. If the United States government accuses a corporate executive in the field of medical devices and

    laboratory testing of a crime, do you think he or she is:

    Very probably guilty                             

    Probably guilty                                  

    Equally likely to be guilty or not guilty        

                                                    37
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 38 of 46
                                                            JUROR # ______________



    Probably not guilty                             

    Very probably not guilty                        

    Don’t know                                      

    Please explain: ___________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

91. The indictment is not evidence, and does not prove anything. The indictment is just a formal way

    of charging a person with a crime in order to bring her to trial. Does the fact that Ms. Holmes has

    been indicted make it difficult for you to presume she is innocent?

    ____ Yes          ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________



92. As I have explained, the law says the indictment is absolutely no proof whatsoever that the

    defendant has engaged in any illegal activity. Furthermore, the law says that the jury must not hold

    it against the defendant no matter how many charges are contained in the indictment. Do you agree

    with that statement of the law?

    ____ Yes          ____ No

    If no, please explain _______________________________________________________________

    ________________________________________________________________________________



93. The burden of proving guilt beyond a reasonable doubt rests entirely with the government. The

    defendant is presumed innocent, and has no burden to do anything at the trial. The government’s

    burden includes the specific need to prove that the defendant consciously intended to commit

    various crimes. Do you believe that a defendant has an obligation to prove his innocence or

    produce any evidence in order to be found not guilty?

    ____Yes           ____No

    If yes, please explain: ______________________________________________________________

                                                   38
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 39 of 46
                                                            JUROR # ______________



    ________________________________________________________________________________

    ________________________________________________________________________________



94. Under the law, a defendant need not testify in his or her own defense. If a defendant does not

    testify, the jury may not consider that fact in any way in reaching a decision as to whether that

    person is guilty. Do you believe that the defendant has an obligation to testify in order to be found

    not guilty?

    ____Yes           ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



95. Do you believe a defendant who does not testify is more likely to be guilty than one who testifies?

    ____ Yes          ____ No

    Please explain: ___________________________________________________________________

    ________________________________________________________________________________



96. You may hear testimony during the trial from members of law enforcement (for example, an FBI

    agent). The fact that a witness may be a member of law enforcement does not mean that his or her

    testimony is entitled to any greater weight by reason of his or her employment. By the same token,

    his or her testimony is not entitled to less consideration simply because he or she is a member of

    law enforcement. You should consider the testimony of members of law enforcement just as you

    would any other evidence in the case and evaluate their testimony just as you would that of any

    other witness. Would you, as a juror, give law enforcement officers more credibility than the

    testimony of others?

    ____ Yes          ____ No

    Please explain: ______________________________________________________________

    ________________________________________________________________________________

                                                   39
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 40 of 46
                                                             JUROR # ______________



    ________________________________________________________________________________



97. This case may feature testimony from individuals who work for government regulatory/law

   enforcement agencies (ex. U.S. Food & Drug Administration). Are you more likely to believe the

   testimony of a federal or state civil servant than another witness without that association?

   ____ Yes            ____ No

   Please explain: ____________________________________________________________________

   _________________________________________________________________________________



98. If you are selected to sit as a juror on this case, are you aware of any reason why you would be

    unable to render a verdict based solely on the evidence presented at trial?

    ____Yes            ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



99. If you are selected to sit as a juror in this case, are you aware of any reason why you would not be

    able to follow the law as the Court gives it to you?

    ____Yes            ____No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



100. As a juror it is important that you do not obtain information about this case outside of the

    courtroom. The Court will instruct you that you are not to watch television, go on the internet, read

    newspapers, magazines, or any other form of print media, listen to or watch any media coverage,

    use social media, and/or speak to anyone regarding this case and that the only evidence you are

    permitted to consider is that which is presented in court. Will you be tempted to disregard this

                                                    40
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 41 of 46
                                                            JUROR # ______________



    instruction?

    ____Yes          ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



101. Judge Davila will preside over this trial. His courtroom deputy is Ms. Adriana Kratzmann. His

    court reporter is Ms. Irene Rodriguez. Do you know Judge Davila or any members of his staff?

    ____ Yes         ____ No

    If yes, please explain: ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



102. Do you, a family member or someone close to you have any connection or familiarity, including

    employment or an application for employment, with any of the following law firms? Please place a

    check mark next to any responsive business.

    Williams & Connolly LLP         Davis Wright Tremaine LLP            Law Office of John D. Cline

    Orrick, Herrington & Sutcliffe, LLP

    Please explain how you know the law firm(s) indicated:

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



103. The following attorneys are or have been involved in this case. Do you know or have you ever had

    any connection with any of the following?



    Prosecuting Attorneys:

                                                  41
       Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 42 of 46
                                                            JUROR # ______________



    Stephanie M. Hinds

    Hallie Hoffman

    Jeff Schenk

    John C. Bostic

    Robert S. Leach

    Kelly I. Volkar

    Vanessa Baehr-Jones

    Jeff Nedrow

    United States Attorney’s Office, Northern District of California



    Defense Attorneys:

    Kevin M. Downey

    Lance Wade

    Amy Mason Saharia

    Katherine Trefz

    John C. Cline

    Seema Mittal Roper

    Andrew Lemens

    Patrick Looby

    Jean Ralph Fleurmont

    Richard S. Cleary, Jr.

    Michelle Chen

    Williams & Connolly LLP



104. Do you know any other member of the prospective jury panel, for example from work, school,

    socially, prior jury service or one’s neighborhood?

    ____ Yes          ____ No

    If yes, please explain. ______________________________________________________________

                                                  42
          Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 43 of 46
                                                               JUROR # ______________



       ________________________________________________________________________________

       ________________________________________________________________________________



105. Is there any reason (for example, religious, philosophical, moral, or personal belief) that would

       prevent you from serving as a juror in a criminal trial?

       _____Yes           ____ No

       If yes, please explain: ______________________________________________________________

       ________________________________________________________________________________

       ________________________________________________________________________________



106.      You are going to be instructed that a defendant is presumed innocent unless and until proven

   guilty beyond a reasonable doubt. Based on what you have read or heard so far, do you hold the

   opinion that the defendant is:

          ____ Unsure

          ____ Definitely Guilty

          ____ Probably Guilty

          ____ Probably Not Guilty

          ____ Definitely Not Guilty



107. In your deliberations, are you willing to abide by your convictions and not agree with other jurors

       solely for the purpose of getting along with them or finishing deliberations if you are convinced that

       the opinions of the other jurors are not correct?

       ____ Yes           ____ No               ____ Not Sure



108. Is there anything about the subject matter of this case, or the points covered in this questionnaire,

       which creates a question in your mind as to whether you could be a fair, objective, and impartial

       juror in this particular case?

       ____ Yes           ____ No

                                                       43
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 44 of 46
                                                             JUROR # ______________



    If yes, please explain. ______________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



109. When the time comes for individual oral questioning of prospective jurors, you will have the

    opportunity to discuss privately with the Court and the attorneys in the case any answers which

    would require you to reveal information you feel is personal and private and which you do not want

    to reveal publicly in open court. Would any of the questions above require you to reveal

    confidential and personal information which you would like to keep private?

    ____ Yes          ____ No

    If yes, please list which question number(s): ___________________________________________



110. Is there any matter you wish to discuss privately with the Judge?

    ____ Yes          ____ No

    If yes, please explain. _____________________________________________________________

    _______________________________________________________________________________

    _______________________________________________________________________________



111. Is there anything else the attorneys or the Court might want to know about you when considering

    you as a juror in this case?

    _______________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________



112. Did you have any problems reading or understanding this questionnaire?

   ____ Yes           ____ No

                                                   44
        Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 45 of 46
                                                             JUROR # ______________



   If yes, please explain _______________________________________________________________

   ________________________________________________________________________________




                                           JUROR OATH


I declare under penalty of perjury that the answers set forth in this Jury Questionnaire are true and
correct to the best of my knowledge and belief. I have not discussed the questions or my answers with
others. I have not received assistance in completing this questionnaire.

Signature:

Print Name:

Date:


Further Explanation Sheet
(Please put the question number next to your response. Thank you)




                                                  45
      Case 5:18-cr-00258-EJD Document 808 Filed 05/27/21 Page 46 of 46
                                                           JUROR # ______________




_____________________________________________________________________________________




_____________________________________________________________________________________




                                            46
